Case 2:99-cr-20079-BBD Document 404 Filed 07/07/05 Page 1 of 2 Page|D 281‘

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UNlTED sTATEs oF AMERICA CLE'HS<.‘, 3 in E;QM
-vs- Case No. 2:99cr20079-2-D
FRED JETER, JR.

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlNDlNGS
ln accordance with the Bail Reforrn Act, 18 U.S.C. § 3142(i), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be iiled at a later date.

DlRECTlONS REGARD|NG DETENT|ON

FRED JETER is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. FRED JETER shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

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Date: Juiy 6, 2005 §§ /AM Q-

S. TI-IOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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with Hule 55 and/or 32(b) FRCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 404 in
case 2:99-CR-20079 was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

